     Case 1:12-cr-00018-MW-GRJ           Document 48   Filed 09/06/12    Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                CASE NO.: 1:12cr18/MP

RAYMOND ALEXANDER

                                     /


                         ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there has been no timely objections, and subject to this court’s
consideration of the Plea Agreement pursuant to Fed.R.Crim.P. 11(c)(3), the plea of guilty
of the defendant, Raymond Alexander, to Count One of the indictment is hereby
ACCEPTED. All parties shall appear before this court for sentencing as directed.
      DONE and ORDERED this 6th day of September, 2012.




                                            s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           CHIEF UNITED STATES DISTRICT JUDGE
